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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,                              CASE NO. 15-CR-20126-001

  vs.                                                 HON. ARTHUR J. TARNOW

FADI HASSAN HAMMOUD,

          Defendant.
______________________________/

                   DEFENDANT, FADI HASSAN HAMMOUD’S,
                       SENTENCING MEMORANDUM

        NOW COMES, Defendant, FADI HASSAN HAMMOUD, by and through his

counsel, James C. Thomas of JAMES C. THOMAS, P.C., and files the following

Sentencing Memorandum setting forth all factors that this Honorable Court should consider

in determining the type and length of sentence for Fadi Hassan Hammoud (“Mr.

Hammoud”), and requesting a downward variance from the sentencing guidelines.


I. COMPUTATION OF GUIDELINES

        On March 5, 2015, Mr. Hammoud was named in a five-count Indictment charging

Count 1: Bank Fraud in violation of 18 USC § 1344. Count II through Count IV: Mail

Fraud in violation of 18 USC § 1341 and Count V: Aggravated Identity Theft in violation

of 18 USC § 1028A(a)(i). The Indictment also included forfeiture allegations, pursuant to

18 USC § 981(a)(1)(C) and 28 USC § 2461(c). The offenses were alleged to have occurred



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between August 2011 through March 2013. On January 5, 2017 Mr. Hammoud entered a

plea of guilty to Count 1 of the Indictment pursuant to a Rule 11 Plea Agreement.

       The guidelines for violation of 18 USC § 1344 offenses are found in USSG §

2B1.1(a)(1) requiring a base offense level of 7. Mr. Hammoud received a fourteen-level

increase pursuant to USSG § 2B1.1(b)(1)(H), because the loss in this offense was in excess

of $550,000.00. Additionally, he received a two-level increase pursuant to USSG §

2B1.1(b)(11)(A)(ii) because the offense involved an authentication feature.

       Mr. Hammoud received a three-level total reduction for acceptance of responsibility

pursuant to USSG §§ 3E1.1(a) and (b). As a result, Mr. Hammoud’s Total Offense Level

is 20. Based upon a criminal history score of two, he has a criminal history category of II

his advisory guidelines range is calculated to be 37 to 46 months. Defendant’s correct

criminal history increases the guidelines range contemplated in the Rule 11 from 33 to 41

to 37 to 46. While it is believed that Defendant’s misdemeanor history overstates his

criminality, there are no disputes regarding the calculation of the guidelines range in the

Rule 11 Plea Agreement or in the report by Probation.


II. RULE 11 PLEA AGREEMENT

       On January 5, 2015, Mr. Hammoud entered a plea of guilty pursuant to a Rule 11

Plea Agreement. Mr. and Mrs. Hammoud have agreed to fund the restitution amount

partially by a repurchase of his home at 7601 Miller Road for $234,000.00. In this way the

familial home will be exempted from forfeiture/restitution. Towards that end, the details




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are near completed and the Court will be advised at the time of the sentencing regarding

this issue.


III. REQUEST FOR DOWNWARD VARIANCE FROM ADVISORY
     GUIDELINES

       Until 2005, a defendant was precluded from arguing a variance outside the express

terms of a Rule 11 Plea Agreement. United States v. Williams, 510 E.3d 416, 435 (3rd.

Cir. 2007). That is not true today. Upon review of the United States Sentencing Guidelines

Commission statistics, both nationally and for the Eastern District of Michigan, it appears

as if judges have been more willing to exercise their discretion and vary from the guidelines

to impose a sentence below the recommended guidelines. We ask this Honorable Court to

do so here.

       Counsel submits that a term of incarceration under the particular facts and

circumstances of this case is greater than necessary to achieve the stated goals of sentencing

18 USC § 3553(a)(2). In 2003 Justice Anthony Kennedy stated, “Our resources are

misspent, our punishments too severe; our sentences too long . . . the sentencing guidelines

are responsible in part for the increased terms [and they] should be revised downward.”1

Ten years later, United States Attorney General Eric Holder echoed Justice Kennedy in his

own speech to the ABA, saying “too many Americans go to too many prisons for far too

long, and for no truly good law enforcement reason. . . .”2 Counsel attended a sentencing



1 http://www.abanow.org/2003/08/speech-by-justice-anthony-kennedy-at-aba-annual-
meeting/
2 http://www.justice.gov/iso/opa/ag/speeches/2013/ag-speech-130812.html

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at WSU Law School where the question was posed to the Honorable Jed Rakoff and Nancy

Edmunds “How Much Time was Too Much Time?” This issue is still looming. Prison

populations continue to be burdened by sentences too long for their purposes. Recognizing

the purposes of sentencing are restriction, deterrence, incapacitation and rehabilitation.

U.S. v. Pressley, 547 F.3rd. (6th Cir 2008). Mr. Hammoud’s circumstance is one that

warrants the consideration of this Honorable Court. Counsel submits that this Honorable

Court should grant a downward variance for the reasons stated above and after application

of the relevant sentencing factors.


IV. APPLICATION OF THE 18 U.S.C. § 3553(a) FACTORS


18 USC § 3553(a)(1): Nature and Circumstances of the Offense and Fadi
Hammoud’s History and Characteristics

       Mr. Hammoud is a forty-six-year-old father of five. He was born in Lebanon and

immigrated to the U.S. during the war. Both parents are deceased. He has twelve surviving

siblings. He married Maya Makhzoum in September 2014 after a bitterly contested and

devastating divorce with his first wife. The letters submitted in support of Mr. Hammoud

show that he is a devout man, who is fully supported emotionally and financially by his

family. Not only does his family stand beside him, but he enjoys the unwavering dedication

of his wife with whom he has two young children and is now expecting a third. He has

maintained a close relationship with the children of his first marriage who wants to go to

medical school. His son, Hassan, speaks of his bond with his father along with his hard

work and family values. This support should be considered by this Honorable Court, as


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evidence suggests familial support is a significant factor in lower recidivism. See Shirley

R. Klein et. al., Inmate Family Functioning, 46 Int’l J. Offender Therapy & Comp.

Criminology 95, 99-100 (2002) (“The relationship between family ties and lower

recidivism has been consistent across study populations, different periods, and different

methodological procedures.”)

       Mr. Hammoud is also known to be a charitable man (not so much in money, but of

his time). In addition to working to rebuild a new life for his family, he has a history of

giving his time and energy to others that are more needy than himself. His CPA, Carl Masi,

describes how Mr. Hammoud has opened his doors to take disenfranchised in his culture

to help them better adopt to their new surroundings.        The Court may consider Mr.

Hammoud’s character, as reflected in the letters by those who know him, and his charitable

good works. See Unites States v. Wachowiak, 412 F.Supp.2d 958 (E.D. Wisc. 2006) aff’d

496 F.3d 744 (7th Cir. 2007) (“The guidelines failed to consider defendant’s otherwise

outstanding character, as depicted in the many supportive letters... while essentially §

3553(a)(1) requires the court to consider the character of the defendant, the guidelines

account only for criminal history.


18 USC § 3553(a)(2)(A): The Requirement that the Sentence Imposed Reflect the
Seriousness of the Offense, Promote Respect for the Law and Provide Just
Punishment for the Offense

       Mr. Hammoud is fully aware that this is a serious crime, and he must face the

consequences of his actions. Because of his shame he has shielded many family and friends

from the instant matter for a long period. As are reflected by his letters of support he has


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made his family aware. The letter of his wife, Maya, and sister, Fadia Moussa, point out

the devotion of how he has dealt with the strain of the charges. However, it is well known

that a felony conviction wreaks havoc on a person’s life. United States v. Wulff, 758 F.2d

1121, 1125 (6th Cir. 1985) (“a felony conviction irreparably damages one’s reputation.”)

See generally United States v. Leon, 341 F.3d 928, 929 (9th Cir. 2003); United States v.

Aguirre, 214 F.3d 1122, 1123 (9th Cir. 2000). The collateral consequences of Mr.

Hammoud’s conduct, and resulting guilty plea, to a large extent reflect the seriousness of

the offense and provide punishment. He has been under indictment for years now. He has

consented to significant forfeitures and restitution in this case. He has taken earnest steps

to pay his obligation. His reputation has been stained in his community, and his family has

spent over two years awaiting the ultimate disposition in this matter.


18 USC § 3553(a)(2)(B): Deter Criminal Conduct

       It is proper for a sentencing court to vary from the guidelines based upon evidence

of a substantial likelihood that a defendant will successfully overcome the cause of the

criminal behavior being punished. See United States v. Davis, 763 F.Supp. 645, 652 (D.C.

Cir. 1991). Since this offense, Mr. Hammoud has gained a very real understanding of the

jeopardy he has placed himself under. He has risked the marriage, the safety of his wife

and put himself in the position of disappointing her by his absence, when she needs him

most. She is invested in a gas station in Detroit and is in the process of obtaining another.

She is now facing the real possibility of managing a business along with three children

because of the very real possibility of his incarceration.


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18 USC § 3553(a)(2)(C): Protect the Public From Further Crimes of the Defendant

       Post Booker and FanFan cases have reiterated that incarceration is not always

necessary to protect the public. See United States v. Edwards, 595 F.3d 1004 (9th Cir.

2010); Unite States v. Baker, 502 F.3d 465 (6th Cir. 2007); Unites States v. Stall, 581 F.3d

276 (6th Cir. 2009) (where variances that did not provide for incarceration were held not

to be unreasonable). As noted in the PSIR, Mr. Hammoud does not have a history of

felonious conduct. The assault charges in 2007 and 2013 place him in a criminal history

category of II.    Both of these cases included successful probationary periods with

advisement dismissals. While they are appropriately included for guidelines calculation

counsel submits they overstate prior criminal conduct. Counsel submits that incarceration

is not necessary to protect the public from Mr. Hammoud.


18 USC § 3553(a)(2)(D): Provide the Defendant with Needed Educational or
Vocational Training, Medical Care or Other Correctional Treatment in the Most
Effective Manner

       Mr. Hammoud would like to continue to be involved in real estate in some way. His

wife independently has significant funds and with his input has been buying and selling

commercial and residential real estate. Upon release he would like to do more and it will

not require licensure. It is expected that because of his felony conviction he will have great

difficulty or be precluded from being involved in mortgage brokerage or real estate

brokerage/sales licensing. This would probably be the most viable for Defendant to gather

sufficient funds for restitution and start to rebuild a life for himself and his family.



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18 USC § 3553(a)(3) and (4): Kinds of Sentences Available and the Sentencing
Range Established By the Federal Sentencing Guidelines

       Mr. Hammoud’s advisory sentencing guideline range is 37 to 46 months. Without

a variance, this Honorable Court may sentence Mr. Hammoud to (1) a sentence of

imprisonment; or (2) a sentence of imprisonment that includes a term of supervised release

with a condition that substitutes community confinement or home detention according to

the schedule in subsection (e), provided that at least one-half of the minimum term is

satisfied by imprisonment. USSG § 5C1.1(d).

       There is no statutory mandatory minimum term of incarceration in this case;

therefore, if this Honorable Court finds it appropriate, it may vary from the guidelines and

impose a sentence that does not require incarceration.



18 USC § 3553(a)(5): Any Pertinent Policy Statement Issued by the Sentencing
Commission

       Counsel is not aware of any relevant policy statements.


18 USC § 3553(a)(6): The Need to Avoid Unwarranted Sentence Disparities Among
Defendants with Similar Records Who Have Been Found Guilty of Similar Conduct

       There are no codefendants in this matter. Mr. Mukhtal has not been listed as a

codefendant in this matter.


18 USC § 3553(a)(7): The Need to Provide Restitution to Any Victims

       Counsel adopts the position of probation in paragraph 83 of the PSIR.            Mr.

Hammoud would like to buy and sell real estate. To do so this may require funding from


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traditional sources as well as hard money lenders if necessary. The only exception,

therefore, would be to allow financing in the ordinary course of business upon presentation

of documentation to probation or to his supervised release officer.



V. CONCLUSION

       “The makers of the sentencing guidelines have succeeded only in contributing to

the making of law of punishment that shows obstinately little concern for the personhood

of offenders . . . a law that tends to treat offenders as something closer to animals than

humans, and that has correspondingly sought, more and more frequently, simply to lock

them away.” See James Q. Whitman, Harsh Justice, Oxford Press, 2003 at 223 note 72.

       Given the foregoing facts and circumstances, defense counsel requests this

Honorable Court to vary downward from the guidelines and fashion a sentence for Fadi

Hammoud that is sufficient, but not greater than necessary to satisfy the requirements of

18 USC § 3553(a).



                                                 Respectfully Submitted,

                                                 JAMES C. THOMAS, P.C.

                                                 By: /S/ James C. Thomas
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DATED: May 15, 2017

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                          CERTIFICATE OF SERVICE


I hereby certify that on May 15, 2017, I electronically filed the foregoing paper
with the Clerk of the Court using the ECF system, which will send notification of
such filing to all parties of record.


                                                    /S/ James C. Thomas
                                                   James C. Thomas




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